  Case 2:25-cr-00137-KSH     Document 5     Filed 03/05/25          Page 1 of 7 PageID: 13

                                              U.S. Department of Justice

                                              United States Attorney
                                              District of New Jersey



                                              970 Broad Street, 7th floor         973-645-2700
                                              Newark, New Jersey 07102

SM/PL AGR
2021R00734



                                              December 27, 2024

Robert C. Scrivo, Esq.
Andrew Gimigliano, Esq.
Mandelbaum Barrett PC
3 Becker Farm Road, Suite 105
Roseland, NJ 07068

                  Re:    Plea Agreement with Kyse S. Abushanab

Dear Counsel:

      This letter sets forth the plea agreement between your client, Kyse S.
Abushanab (“DEFENDANT”), and the United States Attorney for the District of
New Jersey (“this Office”). This offer will expire on January 24, 2025, if it is not
accepted in writing by that date. If DEFENDANT does not accept this plea
agreement, his sentencing exposure could increase beyond what is discussed in this
plea agreement as a result of this Office’s investigation.

Charge

       Conditioned on the understandings specified below, this Office will accept a
guilty plea from DEFENDANT to a one-count Information that charges that
DEFENDANT knowingly concealed and disguised the nature, location, source,
ownership and control of the provision of material support and resources to a
designated foreign terrorist organization (“FTO”), namely the Islamic State of Iraq
and Syria (“ISIS”), contrary to Title 18, United States Code, Section 2339B(a)(1), in
violation of Title 18, United States Code, Sections 2339C(c)(2)(A) and 2339C(d)(2).
If DEFENDANT enters a guilty plea and is sentenced on this charge and otherwise
fully complies with this agreement, this Office will not initiate any further criminal
charges against DEFENDANT for the provision and attempted provision of
material support and resources to an FTO—namely, ISIS—and for knowingly
 Case 2:25-cr-00137-KSH      Document 5     Filed 03/05/25   Page 2 of 7 PageID: 14




distributing information pertaining to, in whole or in part, the manufacture or use
of a weapon of mass destruction between in or around March 2021 and in or around
January 2022.

       But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does not
remain in full force and effect, this Office may reinstate any dismissed charges and
initiate any other charges against DEFENDANT even if the applicable statute of
limitations period for those charges expires after DEFENDANT signs this
agreement, and DEFENDANT agrees not to assert that any such charges are time-
barred.

Sentencing

       The violation of 18 U.S.C. §§ 2339C(c)(2)(A) and 2339C(d)(2) to which
DEFENDANT agrees to plead guilty in Count One of the Information carries a
statutory maximum prison sentence of 10 years and a statutory maximum fine
equal to the greatest of (1) $250,000, or (2) twice the gross amount of any pecuniary
gain that any persons derived from the offense, or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. The prison sentence on
Count One may run consecutively to any prison sentence DEFENDANT is serving
or is ordered to serve. Fines imposed by the sentencing judge may be subject to the
payment of interest.

       The sentence to be imposed upon DEFENDANT is within the sole discretion
of the sentencing judge, subject to the provisions of the Sentencing Reform Act, 18
U.S.C. §§ 3551-3742, and the sentencing judge’s consideration of the United States
Sentencing Guidelines. Those Guidelines are advisory, not mandatory. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. This
Office cannot and does not make any representation or promise as to what
Guidelines range may be found by the sentencing judge, or as to what sentence
DEFENDANT ultimately will receive.

      Further, in addition to imposing any other penalty on DEFENDANT, the
sentencing judge as part of the sentence:

      (1)    will order DEFENDANT to pay an assessment of $100 pursuant to 18
             U.S.C. § 3013, which assessment must be paid by the date of
             sentencing;

                                        -2-
 Case 2:25-cr-00137-KSH        Document 5     Filed 03/05/25   Page 3 of 7 PageID: 15




      (2)      may order DEFENDANT to pay restitution pursuant to 18 U.S.C.
               § 3663 et seq.;

      (3)      pursuant to 18 U.S.C. § 3583(j), may require DEFENDANT to serve a
               term of supervised release of any term of years or life, which will begin
               at the expiration of any term of imprisonment imposed. Should
               DEFENDANT be placed on a term of supervised release and
               subsequently violate any of the conditions of supervised release before
               the expiration of its term, DEFENDANT may be sentenced to not more
               than two years’ imprisonment in addition to any prison term previously
               imposed, regardless of the statutory maximum term of imprisonment
               set forth above and without credit for time previously served on post-
               release supervision, and may be sentenced to an additional term of
               supervised release.

Rights of This Office Regarding Sentencing

       Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on DEFENDANT by
the sentencing judge. This Office may also correct any misstatements relating to
the sentencing proceedings and provide the sentencing judge and the United States
Probation Office all law and information relevant to sentencing, favorable or
otherwise. And this Office may inform the sentencing judge and the United States
Probation Office of: (1) this agreement; and (2) the full nature and extent of
DEFENDANT’s activities and relevant conduct with respect to this case.

Stipulations

       This Office and DEFENDANT will stipulate at sentencing to the statements
set forth in the attached Schedule A, which is part of this plea agreement. Both
parties understand that the sentencing judge and the United States Probation
Office are not bound by those stipulations and may make independent factual
findings and may reject any or all of the parties’ stipulations. Nor do these
stipulations restrict the parties’ rights to respond to questions from the Court and
to correct misinformation that has been provided to the Court.

      This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it believes materially conflicts with a Schedule A stipulation, that

                                          -3-
 Case 2:25-cr-00137-KSH      Document 5      Filed 03/05/25   Page 4 of 7 PageID: 16




stipulation shall no longer bind this Office. A determination that a Schedule A
stipulation is not binding shall not release the parties from any other portion of this
agreement, including any other Schedule A stipulation.

       If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate to a
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.

Waiver of Appeal and Post-Sentencing Rights

      As set forth in Schedule A and the paragraph below, this Office and
DEFENDANT waive certain rights to appeal, collaterally attack, or otherwise
challenge the judgment of conviction or sentence.

Immigration Consequences

        DEFENDANT understands that, if DEFENDANT is not a citizen of the
United States, DEFENDANT’s guilty plea to the charged offense will likely result
in DEFENDANT being subject to immigration proceedings and removed from the
United States by making DEFENDANT deportable, excludable, or inadmissible, or
ending DEFENDANT’s naturalization. DEFENDANT understands that the
immigration consequences of this plea will be imposed in a separate proceeding
before the immigration authorities. DEFENDANT wants and agrees to plead guilty
to the charged offense regardless of any immigration consequences of this plea,
even if this plea will cause DEFENDANT’s removal from the United States.
DEFENDANT understands that DEFENDANT is bound by this guilty plea
regardless of any immigration consequences. Accordingly, DEFENDANT waives
any right to challenge the guilty plea, sentence, or both based on any immigration
consequences. DEFENDANT also agrees not to seek to withdraw this guilty plea, or
to file a direct appeal, or any kind of collateral attack challenging the guilty plea,
conviction, or sentence, based on any immigration consequences of the guilty plea or
sentence.

Other Provisions

      This agreement is limited to the United States Attorney’s Office for the
 District of New Jersey and cannot bind other federal, state, or local authorities. If



                                         -4-
 Case 2:25-cr-00137-KSH      Document 5     Filed 03/05/25   Page 5 of 7 PageID: 17




requested to do so, however, this Office will bring this agreement to the attention of
other prosecuting offices.

       This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against DEFENDANT. So
this agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue Service and Immigration and Customs Enforcement) or any
third party from initiating or prosecuting any civil or administrative proceeding
against him.

       No provision of this agreement shall preclude DEFENDANT from pursuing
in an appropriate forum, when permitted by law, a claim that he received
constitutionally ineffective assistance of counsel.

No Other Promises

       This agreement constitutes the entire plea agreement between DEFENDANT
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

                                               Very truly yours,

                                               PHILIP R. SELLINGER
                                               UNITED States Attorney



                                               _______________________________
                                               By: Sammi Malek
                                               Assistant U.S. Attorney

APPROVED:




Joyce M. Malliet
Chief, National Security Unit



                                         -5-
Case 2:25-cr-00137-KSH   Document 5   Filed 03/05/25   Page 6 of 7 PageID: 18
 Case 2:25-cr-00137-KSH       Document 5     Filed 03/05/25    Page 7 of 7 PageID: 19




                      Plea Agreement With Kyse S. Abushanab

                                      Schedule A

       1.     This Office and Kyse S. Abushanab (“DEFENDANT”) agree to stipulate
to the following facts:

              a. DEFENDANT knowingly concealed and disguised the nature,
location, source, ownership and control of the provision of material support and
resources to the Islamic State of Iraq and Syria (“ISIS”), a designated foreign
terrorist organization.

             b. DEFENDANT knew that ISIS was a designated foreign terrorist
organization, that ISIS has engaged or engages in terrorist activities, or that ISIS
has engaged or engages in terrorism.

             c. The offense involved the concealment of the provision of other
material support or resources with the intent, knowledge, or reason to believe they
were to be used to commit or assist in the commission of a violent act.

             d. The offense is a felony that involved, or was intended to promote, a
federal crime of terrorism.

             e. As of the date of this letter, DEFENDANT has clearly
demonstrated a recognition and affirmative acceptance of personal responsibility for
the offense charged.

              f. As of the date of this letter, DEFENDANT has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this Office to
avoid preparing for trial and permitting this Office and the court to allocate their
resources efficiently.

      2.     The parties also stipulate to a term of supervised release of 25 years.

       3.    If the sentencing court accepts the factual stipulations set forth above,
both parties waive the right to file an appeal, collateral attack, writ, or motion
claiming that the sentencing court erred in doing so. Otherwise, both parties
reserve the right to file, oppose, or take any position in any appeal, collateral attack,
or proceeding involving post-sentencing motions or writs.



                                          -7-
